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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS
                                 Fort Worth Division

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )
                                                  )
                v.                                )    4:21-cr-00005-O
                                                  )
 THE BOEING COMPANY,                              )
                                                  )
        Defendant.                                )
                                                  )

[PROPOSED] ORDER POSTPONING ISSUANCE OF A TRIAL SCHEDULING ORDER

       Having considered the United States of America’s (the “Government”) status report and

motion for the Court to postpone the issuance of a trial scheduling order, to which relief Defendant

The Boeing Company (“Boeng”) agrees, the Court hereby ORDERS that:

       The Court will POSTPONE issuing a trial scheduling order until at least July 12, 2024, on

which date the Court expects to receive from the Government a status report and proposed

scheduling order.



       SO ORDERED this ______ day of July, 2024



                                                      ______________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
